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&
UNITED STATES DISTRICT COURT Le
NORTHERN DISTRICT OF CALIFO

CRIMINAL COVER SHEET “GER oN

Justructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitte Mg
along with the Defendant Information Form, for each new criminal case.

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CASE NAME: CASE NUMBER:

om GR 20 126

8 or more

Venue (Per Crim. L.R. 18-1): SF Y OAK SJ

falhigh-cost case? =< ---Yes_— | sNo. of

Is any defendant charged with
a death-penalty-eligible crime? Yes No ¥

(etd Attorney: Molly A. Smolen Date Submitted: 03/11/2020

Form CAND-CRIM-COVER (Rev. 11/16)

